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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                  CIVIL MINUTES – JURY TRIAL
                                               Day Thirteen


   Case No.: 3:17CV72                    Date: Nov 10, 2021

     Elizabeth Sines, et al                           Counsel: Roberta Kaplan, Karen Dunn,
     Plaintiff(s)                                     David Mills, William Isaacson, Alan
                                                      Levine, Emily Cole, Alexandra Eber
     v.
                                                      Counsel: Bryan Jones, David Campbell,
     Jason Kessler, et al                             James Kolenich
     Defendant(s)
                                                      Richard Spencer, pro se, Christopher
                                                      Cantwell, pro se

                                                      William ReBrook and Joshua Smith,
                                                      Appearing by Zoom; Dillon Hopper, pro
                                                      se, Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 8:55-
   10:30=1hr 35min; 10:50-12:30= 1hr 40min; 1:30-3:05=1hr 35min; 3:25-5:00=6hr 25min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                         LIST OF WITNESSES

       PLAINTIFF                                           DEFENDANT
     1. Marcus Martin                                 1.
     2. Seth Wispelwey
     3. Nathan Damigo
     4. Michael Joseph Chesney(Video Depo)


          Plaintiff continues presentation of evidence.

   Additional Information:
   Before jury seated, court inquires as to agreement. Parties were not able to reach an agreement.

   Jury called.
   Testimony of Marcus Martin begins.
   Cross by Mr. Cantwell.
   A photo will be substitued for the physical exhibit ( shoes ).
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   Testimony of Seth Wispelwey begins.
   Break.
   Cross begins with Mr. Spencer.
   Mr. Campbell.
   Mr. Jones.
   Mr. Cantwell.
   Break

   After break presentation regarding Fields for tomorrow addressed and specific evidence. Court
   rules on evidence.

   Cross of Mr. Wispelwey continues.

   Testimony of Nathan Damigo begins.

   Cross by Mr. Spencer.
   Mr. Campbell.
   Mr. Jones.
   Mr. Cantwell.

   Instruction read to Jury

   Video Deposition of Michael Joseph Chesney.

   Jury excused until 9:00 a.m. tomorrow at 9:00 a.m. Nov. 11.

   Issue addressed as to expert.
